                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,
        Plaintiff,


v.                                                Case Nos.: 15-CR-4275-JB
                                                             15-CR-4268-JB
                                                             16-CR-1613-JB


CHRISTOPHER GARCIA,
ANGEL DELEON, ET AL.,
ANTHONY RAY BACA, ET AL.,
        Defendants.


     MOTION TO COMPEL LAW ENFORCEMENT TO RECORD INTERVIEWS
             AND TIMELY MEMORIALIZE ALL STATEMENTS

        Christopher Garcia, by and through co-counsel of record Amy Sirignano, Esq., of

the Law Office of Amy Sirignano, PC, and Christopher W. Adams, hereby move this

Court for an Order compelling all FBI agents, New Mexico law enforcement officers, and

officers of the Security Threat Intelligence Unit ("STIU") of the New Mexico Department

of Corrections, to make audio and/or visual recordings of all interviews with all potential

witnesses in this matter. Mr. Garcia also respectfully requests that this Court order the

generation of written FBI FD-302 reports within five (5) days of witness interview, per

the standard operating procedure of the FBI, and pursuant to each Department’s policies.

As grounds, counsel states:




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                                  RELEVANT FACTS

       Mr. Garcia is charged with various crimes in three separate Indictments. In a

stand-alone Indictment, case number 15-CR-4275, Mr. Garcia is charged with four

crimes: Counts 1 and 3: Distribution of Heroin in violation of 21 U.S.C. §§841(a)(1) and

b(1)(C); Count 2: Distribution of Cocaine Base, in violation of 21 U.S.C. §§ 841(a)(1)

and (b)(1)(C); Count 4: Distribution of 100 Grams and More of Heroin, in Violation of

21 U.S.C. §§ 841(a)(1) and (b)(1)(B) (Doc. 2, 15-CR-4275). If he is convicted, he could

be imprisoned for the remainder of his life.

       In a Superseding Indictment, case number 15-CR-4268, Mr. Garcia, along with

multiple codefendants, is charged with being a member of the Syndicato de Nuevo

Mexico gang. Mr. Garcia is alleged to have committed two counts of Violent Crimes in

Aid of Racketeering (Conspiracy to Murder) in Violation of 18 U.S.C. § 1959 (a)(5)

(Doc. 368, Counts 8 and 10, 15-CR-4268). Mr. Garcia was also charged with being a

Felon in Possession of a Firearm in violation of 18 U.S.C. § 922(g)(1) and Using and

Carry a Firearm During and in Relation to a Crime of Violence in violation of 18 U.S.C.

§ 924(c). (Doc. 368, Counts 11 and 12, 15-CR-4268). If he is convicted, he could be

imprisoned for the remainder of his life.

       In case number 16-CR-1613, Mr. Garcia is charged, along with numerous

codefendants, with being a member of the Syndicato de Nuevo Mexico gang and having

committed Violent Crimes in Aid of Racketeering (Conspiracy to Murder) in Violation of

18 U.S.C. § 1959 (a)(5) (Doc. 2, 16-CR-1613). If he is convicted, he could be

imprisoned for the remainder of his life.




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       On information and belief, and based on sources known to the defense, after the

inception of the indictments in the above styled causes, agents with the Federal Bureau of

Investigation (FBI), Officers with the Bernalillo County Sheriff’s Office, and officers at

the New Mexico Corrections Department, Security Threat Intelligence Unit (STIU) have

conducted interviews with detained inmates within the New Mexico prison system.

According to those same sources, in those interviews with detained inmates, FBI, BCSO,

and STIU agents have attempted to obtain statements from inmates about the indicted

codefendants by threatening the interviewees with inclusion in the RICO indictment if

they do not cooperate and make statements. See Exhibit A.

       Because the VICAR and RICO cases, case numbers 15-CR-4268 and 16-CR-

1613, carry a penalty of life in prison or death, any interviewee so threatened could easily

have been ccoerced into making a false statement in order to save their lives at the

expense of another's. Relying on such statements at trial would be a grave injustice.

       Throughout the course of proceedings in the above-captioned cases, the FBI has

been remiss in preparing and reluctant to disclose reports of interviews ("FD-302

statements"). On July 8, 2016, during Motion Proceedings for case number 16-CR-1613,

this Court heard motions from Marshall Ray and Kari Morrissey, counsel for codefendant

Richard Gallegos, and from Amy Sirignano, counsel for Mr. Garcia. See Exhibit B,

Transcript of hearing pp. 29-33, 56-57. Counsel for both defendants informed this Court

that they had not received written FD-302s or audio recordings from interviews that

federal agents had conducted, in violation of the agents’ standard operating procedure.

See id.; Exhibit B (excerpt of FBI Domestic Investigations and Operations Guide

(“DIOG”)).




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       The Government responded that it had turned over discovery pursuant to the

Court’s orders. Exhibit A at p. 57-58. The Court then found that the government was

providing discovery and denied Mr. Gallegos’ and Mr. Garcia’s motion. See id. at p. 59.

       Counsel for Mr. Garcia have received little audio or video recording of interviews

of prospective witnesses in federal custody. Nor have defense counsel received any

written FD-302s summarizing these interviews. But see Exhibit C (FD-302 required for

litigation, recording strongly encouraged). While law enforcement nationwide has

adopted recording standards to enhance public trust, the FBI has refused to bring its

interrogation procedures in line with best practices to insure accurate records and public

confidence in the justice system. Harvey Silvergate, Unrecorded Testimony, Boston

Globe May 11, 2013 (available at

https://www.bostonglobe.com/opinion/2013/05/10/beware-fbi-when-not-

recording/yz55UX8WMKU080pN4aP68K/story.html).

       STIU does not have specific procedures around providing assistance to other

investigative agencies, but the New Mexico Corrections Department procedures require

thorough documentation of investigations with timely reports. See Exhibit D, at 6 and

12-14 (NMCD policy CD 0901000 and 090101). If STIU participated in law

enforcement interviews, they were trained to document that participation. If they were

instructed not to follow that training, that evidence is critical exculpatory evidence that

due process requires Mr. Garcia have, to impeach the investigation. Kyles v. Whitley, 514

U.S. 419, 445 (1995).

       The Bernalillo County Sheriff’s Office is playing a prominent role in this

investigation and prosecution as many of the alleged RICO overt acts started in State




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Court. Local law enforcement have policies regarding recording interviews and contacts

with the public, and are encouraged to do so on official business except when, for

instance, meeting with an undercover officer. See Exhibit E (Bernalillo County Sheriff's

Office policy on recording public contacts); James D. Ginger, Monitor's Fourth Report

Compliance of the Albuquerque Police Department and the City of Albuquerque with

Requirements of the Court Approved Settlement Agreement, filed as Doc. 223 in cause

no. 1:14-CV-01025 RB-SMV (covering compliance with a court order for Albuquerque

Police Department to record public contacts).

       In order to protect against the very real threat that law enforcement agents have

been and will continue to coerce involuntary statements from detained inmate witnesses

in the cases at bar, this Court should order that all law enforcement, including agents with

the FBI, BCSO and STIU, audio and/or video record interviews of detained inmates and

other interviewees immediately, including all defendants in this case, who law

enforcement approach to make statements against any defendant in these cases. This

Court should further mandate that law enforcement agents timely memorialize their

interviews in FD-302 statements within five (5) days of interview, per standard operating

FBI procedures, and pursuant to each relevant department’s policies.

                                      ARGUMENT

       Only Voluntary Statements are Admissible Under the U.S. Constitution

       It is well established that coerced statements are involuntary and inadmissible at

trial. “The Supreme Court recognizes two constitutional grounds on which involuntary

statements by a criminal defendant are inadmissible — the Fifth Amendment right

against self-incrimination and the Due Process Clause of the Fourteenth Amendment.”




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Katherine Sheridan, Excluding Coerced Witness Testimony to Protect a Criminal

Defendant’s Right to Due Process of Law and Adequately Deter Police Misconduct, 38

Fordham Urb. L.J. 1229, 1229-30 (2010).

        “[T]he [U.S.] Supreme Court demands that police refrain from using coercive

interrogation techniques to elicit involuntary confessions from a criminal defendant.” See

id. at 1224 (citing Rogers v. Richmond, 365 U.S. 534, 541 (1961)). The government

always bears the burden of proving voluntariness. United States v. Lopez, 437 F. 3d

1059, 1063 (2006); United States v. Harrison, 639 F. 3d 1273, 1278 (2011). When a

statement is obtained by contrasting threats of prosecution against promises of leniency

by investigators, that confession is involuntary. Lopez, 437 F.3d at 1062 and 1064-1065.

        “[T]he exclusionary rule protects the legitimacy of the Constitution itself, and

exclusion is needed because of the danger of unreliable evidence, and because of a sense

of fundamental unfairness best expressed as the ‘deep-rooted feeling that the police must

obey the law while enforcing the law’.” See Sheridan, at 1224 (citing Rogers v.

Richmond, 365 U.S. 534, 541 (1961)); United States v. Torres-Castro, 470 F.3d 992, 999

(10th Cir. 2006) (suppression required when evidence would not have been obtained but

for the violation).

        A “defendant[‘s] due process rights would be implicated if the subject witness

was coerced into making false statements and those statements were admitted against

defendants at trial.” United States v. Gonzales, 164 F.3d 1285, 1289 (10th Cir. 1999)

(emphasis in original omitted). Involuntary statements obtained through coercive means

are therefore inadmissible, whether the statements are by a defendant or a witness. Id.;

Lopez, 437 F.3d at 1066.




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       In the present case, on information and belief, law enforcement officers are

threatening to charge potential witnesses with possible death-penalty eligible charges

unless they make statements against the codefendants. This Court would be bound to

exclude any false statements elicited as a result of such tactics because it would offend

Mr. Garcia’s due process rights under the U.S. Constitution. Gonzales, 164 F.3d at 1289,

Lopez, 437 F.3d at 1066. Because a coerced witness would not change his story for fear

of suffering the sentence initially threatened plus charges of making false statements to

law enforcement and/or perjury, the only sure source of evidence to confirm or disprove

coercive interrogation techniques is in requiring any interviews to be recorded, and those

recordings as well as any reports of interviews and notes must be turned over the defense.

Kyles, 419 U.S. at 445; Exhibit B, at 2 (notes to be retained if the interview is subject to

litigation). FD-302 reports of any interviews conducted by FBI agents and raw notes

must also be disclosed without any (further) delay; even if agents did not intend to coerce

interview subjects, their questions and the interviewees' responses should be documented

before intervening time blurs events into irretrievability. Id.

       This Court Should Require Law Enforcement to Record Interviews Of
            Detained Inmates to Protect Against Coercive Police Tactics
               That Produce Involuntary, Inadmissible Statements

    Recording interviews with detained inmates not only makes sense as a way of

preventing “he-said, she-said” debates about what occurred in an interview, but it

produces a multitude of other benefits. See generally Silvergate (discussing several

reasons why recordings build public trust). Recordings help promote transparency and

trust, prevent coercive police tactics, reduce false confessions, decrease motion practice,

and, ultimately, prevent wrongful convictions.




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               Twenty-first century policing requires law enforcement to
               effectively reduce crime, while establishing trust and
               legitimacy with the communities they serve. Electronic
               recording of custodial interviews can help law enforcement
               meet these demands by providing an irrefutable account of
               what transpired during a critical interaction between police
               and suspects. The practice can prevent false confessions and
               substantiate authentic ones—increasing overall public
               confidence in the justice system. There is a growing national
               movement to electronically record custodial interviews.
               Currently, 18 states and the District of Columbia have
               mandated the practice either by statute (CT, IL, MD, MI,
               Mo, Mt, NE, NM, NC, OR, VT, WI) or court action (AK,
               IN, MA, ME, MN, NJ). In another four states the vast
               majority of law enforcement agencies have voluntarily
               implemented the practice (AZ, HI, UT, RI). In addition,
               hundreds of individual jurisdictions throughout the country
               have adopted electronic recording of interviews on their
               own.

The Innocence Project, Implementing Electronic Recording of Custodial Interviews: A

Primer for Law Enforcement, Custodial Interview Laws Are Catching Fire!, Case

Cracker (Oct. 17, 2016), http://www.casecracker.com/2016/10/17/custodial-interview-

video-laws-catching-fire/.

       The Department of Justice’s own policy, effective July 11, 2014, created a

presumption that federal agents, including FBI agents, should audio record or videotape

any interviews with any individual in federal custody between arrest and prior to their

first appearance. See Attorney General Holder Announces Significant Policy Shift

Concerning Electronic Recording of Statements: New Guidelines Create Presumption

That Interviews of Federally Detained Persons Will Be Electronically Recorded,

Department of Justice: Office of Public Affairs (May 22, 2014),

https://www.justice.gov/opa/pr/attorney-general-holder-announces-significant-policy-

shift-concerning-electronic-recording.




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     Attorney General Eric Holder stated the reason for the policy:

               Creating an electronic record will ensure that we have an
               objective account of key investigations and interactions with
               people who are held in federal custody. . . . It will allow us
               to document that detained individuals are afforded their
               constitutionally-protected rights. And it will also provide
               federal law enforcement officials with a backstop, so that
               they have clear and indisputable records of important
               statements and confessions made by individuals who have
               been detained . . . . The policy also encourages agents and
               prosecutors to consider electronic recording in investigative
               or other circumstances not covered by the presumption . . . .
               [The policy] will reduce uncertainty in even the most
               sensitive cases, prevent unnecessary disputes, and improve
               our ability to see that justice can be served.

See id. The Court would not be imposing any undue burden on FBI agents if they

were ordered to follow their policy, or were required to turn over recordings made

in accordance with it. See Kyles, 419 U.S. at 445 (the quality of the investigation

is subject for impeachment).

       The Albuquerque Police Department Procedural Orders rules and procedures for

custodial interviews and interrogations states department personnel will “electronically

record all custodial interrogations in their entirety” in accordance with New Mexico Law.

See Albuquerque Police Department Procedural Orders, SOP 2-68-2(A)(1)(a) (effective

Jan. 1, 2016), https://sflinks.cabq.gov/THyzJgCi2vU/ (hereinafter APD SOP). The

applicable New Mexico law applies to state and local law enforcement officers to

electronically record custodial interrogations when reasonably able to do so. See N.M.

Stat. Ann. § 29-1-16 (2005). The New Mexico statute excludes correctional facilities as a

required location to electronically record custodial interrogations, but Corrections

Department policy requires that investigations be promptly documented. Exhibit D. The

APD policy implies broader application to all custodial interrogations being



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electronically recorded, no matter the location, due to noticeable lack of reference to

correctional facilities in the policy. See APD SOP 2-68-2.

       APD personnel are required to include advice of the constitutional rights of the

interviewee on the recording. See id. at 2-68-2(A)(1)(c). The APD policy requires the

interviewing officer to document that the interview was electronically recorded or

document the reason for not recording the interview. See id. at 2-68-2(A)(2). There are

two exceptions listed for not recording an interview: a) “[t]he recording equipment failed

prior to completion of the interview;” b) “[t]he individual refuses to be recorded.” See id.

                This Court Should Order That FD-302s Be Completed
                      Within Five (5) Days After the Interview

       The FBI Manual of Administrative Operations and Procedures requires the

following: “Recording Results of Information on Report Form (FD-302) ‘The

preparation of the FD-302 should be effected within five days following the final

interview session.’” See R. 10-13.3(11)(c), FBI Manual of Administrative Operations and

Procedures (MAOP) 2007,

https://archive.org/stream/FbiManualOfAdministrativeOperationsAndProceduresmaop20

07/MAOPP2_Sec_10_WRITTEN_COMMUNICATIONS_djvu.txt (last visited Jan. 27,

2017); cf Exhibit B, at 2 (time limit appears to have been redacted). Mr. Garcia

respectfully requests that this Court simply enforce the FBI’s internal policy requiring

agents to generate 302 statements within five (5) days of interview. While defense

counsel was unable to discover what the internal policies are for written statements for

the STIU at the Department of Corrections, it would be a reasonable timeframe for this

Court to order all law enforcement, not just the FBI, to provide written summaries of

statements made by detained inmates within five days of the interview. The five-day



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time limit will promote the timely dissemination of discovery so that Mr. Garcia can

adequately prepare his defense and conduct investigations prior to trial.

                                     CONCLUSION

       Since there is information that law enforcement is threatening potential witnesses

with inclusion in the RICO indictments in the above styled cases, there is a great risk that

these coercive police tactics will produce involuntary statements. Under the U.S.

Constitution, coerced statements are involuntary and inadmissible. This Court should

grant Mr. Garcia’s motion to compel law enforcement to audio or videotape all

interviews with potential witnesses who are in custody so as to prevent the FBI, STIU,

and other law enforcement from eliciting involuntary statements, the admission of which

would violate Mr. Garcia’s Fifth and Fourteenth Amendment rights. A requirement that

law enforcement write out their 302 statements within five days of any interview with a

detained inmate will also help hasten the discovery process, leading to greater judicial

economy.




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                                             Respectfully Submitted,


                                             /s_________________________
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CERTIFICATE OF SERVICE
I certify that the foregoing pleading
was sent via the Court’s CM/ECF
server to counsel for the government,
this 28th day of February, 2017.

/s_____________________
Amy Sirignano, Esq.




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